      Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 1 of 32




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                        Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.

     CURLING PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
            STATE DEFENDANTS’ MOTION TO STAY
                 Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 2 of 32




                                             TABLE OF CONTENTS

I.     INTRODUCTION .....................................................................................................1

II. BACKGROUND .......................................................................................................2

III. ARGUMENT .............................................................................................................3

     A. This Court retains jurisdiction notwithstanding State Defendants’ appeal ............4

       i.   Frivolous appeals do not divest a district court of jurisdiction..........................4

       ii. Ex parte Young applies .......................................................................................5

       iii. Defendants’ legislative immunity defense is baseless.......................................12

       iv. Standing is not immediately appealable, and Curling Plaintiffs have
            standing in any event.........................................................................................15

     B. The equities strongly disfavor a stay ....................................................................21

       i.   State Defendants will not suffer irreparable injury absent a stay ....................22

       ii. The balance of the equities as well as the public interest strongly
            disfavor any further delays ...............................................................................23

IV. CONCLUSION ........................................................................................................24




                                                                i
           Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 3 of 32




                                     TABLE OF AUTHORITIES
Cases

Alexander v. Holden,
  66 F.3d 62 (4th Cir. 1995) ....................................................................................12

Behrens v. Pelletier,
  516 U.S. 299 (1996) ...............................................................................................4

Black v. Wigington,
  811 F.3d 1259 (11th Cir. 2016) ............................................................................16

Blinco v. Green Tree Servicing, LLC,
  366 F.3d 1249 (11th Cir. 2004) ..............................................................................4

Clapper v. Amnesty Int’l USA,
  568 U.S. 398 (2013) .............................................................................................21

Common Cause/Ga. v. Billups,
 554 F.3d 1340 (11th Cir. 2009) ............................................................................20

Crymes v. DeKalb Cty., Ga.,
 923 F.2d 1482 (11th Cir. 1991) ............................................................................12

Dominion Transmission, Inc. v. Summers,
 723 F.3d 238 (D.C. Cir. 2013)................................................................................6

Epps v. Watson,
 No. 3:05-CV-68CDL,
 2008 WL 4937031 (M.D. Ga. Nov. 17, 2008) .......................................................5

Ex parte Young,
  209 U.S. 123 (1908) ..................................................................................... passim

Fedorov v. Bd. of Regents for Univ. of Ga.,
  194 F. Supp. 2d 1378 (S.D. Ga. 2002) .................................................................10

Freeman v. Cavazos,
  923 F.2d 1434 (11th Cir. 1991) ............................................................................22



                                                          ii
           Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 4 of 32




Griggs v. Provident Consumer Discount Co.,
 459 U.S. 56 (1982) ...............................................................................................21

Idaho v. Coeur d’Alene Tribe of Idaho,
  521 U.S. 261 (1997) .............................................................................................11

In re MDL-1824 Tri-State Water Rights Litig.,
  644 F.3d 1160 (11th Cir. 2011) ............................................................................16

Lewis v. New Mexico Dep’t of Health,
  261 F.3d 970 (10th Cir. 2001) ................................................................................7

Milliken v. Bradley,
 433 U.S. 267 (1977) ...............................................................................................6

Moniz v. City of Fort Lauderdale,
 145 F.3d 1278 (11th Cir. 1998) ............................................................................17

One Wis. Inst., Inc. v. Thomsen,
 198 F. Supp. 3d 896 (W.D. Wis. 2016) ................................................................20

Papasan v. Allain,
 478 U.S. 265 (1986) .............................................................................................10

Parents for Quality Educ. with Integration, Inc. v. State of Ind.,
 977 F.2d 1207 (7th Cir. 1992),
 as modified, 986 F.2d 206 (7th Cir. 1993) .............................................................7

Rateree v. Rockett,
 852 F.2d 946 (7th Cir. 1988) ................................................................................13

Rigdon v. Georgia Bd. of Regents,
  No. CV406-240,
  2008 WL 2986389 (S.D. Ga. Aug. 4, 2008) ..........................................................4

Sampson v. Murray,
  415 U.S. 61 (1974) ...............................................................................................22

Scott v. Taylor,
  405 F.3d 1251 (11th Cir. 2005) ......................................................... 12, 14, 15, 17


                                                         iii
           Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 5 of 32




Snook v. Tr. Co. of Georgia Bank of Savannah,
  909 F.2d 480 (11th Cir. 1990) ..............................................................................22

Summit Med. Assocs., P.C. v. Pryor,
  180 F.3d 1326 (11th Cir. 1999) .................................................................... passim

Supreme Court of Virginia v. Consumers Union,
  446 U.S. 719 (1980) .............................................................................................12

Swint v. Chambers County Comm’n,
  514 U.S. 35 (1995) ...............................................................................................16

Trevino By and Through Cruz v. Gates,
  23 F.3d 1480 (9th Cir. 1994) ................................................................................13

United States v. Maduno,
 40 F.3d 1212 (11th Cir. 1994) ................................................................................4

Va. Office for Prot. & Advocacy v. Stewart,
 563 U.S. 247 (2011) ...................................................................................... 11, 12

Verizon Maryland, Inc. v. Pub. Serv. Comm’n of Maryland,
  535 U.S. 635 (2002) .............................................................................................10

Statutes
28 U.S.C. § 1291 ......................................................................................................15

Other Authorities
O.C.G.A. § 21-2-281................................................................................................14

O.C.G.A. § 21-2-334................................................................................................14

Constitutional Provisions
U.S. Const. amend. XI ..................................................................................... passim

U.S. Const. amend. XIV ............................................................................. 2, 5, 7, 23




                                                           iv
        Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 6 of 32




I.    INTRODUCTION
      The Court has recognized that this case is extraordinarily time-sensitive.

“Plaintiffs have shown the threat of real harms to their constitutional interests,” and

the “2020 elections are around the corner.” (Order, Dkt. No. 309, at 41, 46.) In

fact, there will likely be elections even next year.       To expedite proceedings,

Curling Plaintiffs1 narrowed their claims to only those without colorable immunity

defenses—quintessential claims against individual state officers in their official

capacity for prospective relief. The Court then correctly denied State Defendants’

motion to dismiss those narrowed claims.

      Despite the Court’s admonition that “further delay is not tolerable” (Order

45), State Defendants now ask this Court to halt all proceedings pending their

interlocutory appeal from the denial of the motion to dismiss. That appeal asserts

Eleventh Amendment and legislative immunity—the very defenses that Curling

Plaintiffs narrowed their claims to resolve. Defendants also attempt to appeal the

Court’s rejection of their standing arguments, even though the Eleventh Circuit has

squarely held it lacks interlocutory appellate jurisdiction over standing issues.

      The stay that State Defendants request while they pursue their wholly

meritless appeal is not required by law and would severely prejudice Plaintiffs.

1
 The “Curling Plaintiffs” are Donna Curling, Donna Price, and Jeffrey
Schoenberg.
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         Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 7 of 32




The Court should deny the stay and continue to “insist on further proceedings

moving on an expedited schedule.” (Order 45-46.)

II.     BACKGROUND

        Given the Court’s deep familiarity with this case, this description of the

proceedings will be brief. Curling Plaintiffs’ Second Amended Complaint alleges

that Georgia’s DRE voting system violates the Due Process and Equal Protection

Clauses of the Fourteenth Amendment. After Defendants filed motions to dismiss,

Curling Plaintiffs sought “to narrow the issues and proceed expeditiously toward

resolution.” (Curling Plaintiffs’ Notice Regarding Second Amended Complaint

(“Notice”), Dkt. No. 222, ¶¶ 4-5.) To that end, Curling Plaintiffs in June 2018

voluntarily dismissed all claims except those seeking prospective declaratory and

injunctive relief against the State and Fulton Defendants in their official capacities.

(Id.)

        This Court denied the motions to dismiss. It rejected Defendants’ contention

that Plaintiffs lack standing, detailing record evidence showing that “harm has in

fact occurred” and that there is a “threat of future harm” that Defendants caused

and can redress. (Order 17-26.) The Court also rejected Defendants’ contention

that they are immune from suit. “Find[ing] that this is a classic Ex parte Young

case,” (Hr. Tr., Dkt. No. 307, at 33:17-18), the Court explained that “the Ex parte


                                          2
        Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 8 of 32




Young exception to Eleventh Amendment immunity” applies to claims, like those

asserted by the Curling Plaintiffs, “against state officers in their official capacities

for prospective injunctive relief.” (Order 29.) (Capitalization and italics altered.)

       On the Curling Plaintiffs’ motion for a preliminary injunction, the Court

concluded that they “are substantially likely to succeed on the merits of one or

more of their constitutional claims” and “have demonstrated a real risk of suffering

irreparable injury without court intervention.” (Order 38, 40.) The Court denied a

preliminary injunction, however, because of the short time remaining before the

2018 elections. (Order 41-44.) At the same time, the Court noted that “the State

Defendants have also stood by for far too long, given the mounting tide of

evidence,” and that arguments about time and resource constraints “only weaken

the more that time passes and if Defendants continue to move in slow motion.”

(Order 43-44.)

       State Defendants then noticed an appeal from the denial of their motion to

dismiss and now seek a stay pending that appeal.

III.   ARGUMENT

       Defendants contend (Dkt. No. 320-1 at 6-23) that their interlocutory appeal

divests this Court of jurisdiction and that a stay is therefore required. Defendants

also contend (at 23-25) that the equities favor a stay. Both contentions lack merit.


                                           3
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 9 of 32




      A.    This Court retains jurisdiction notwithstanding State Defendants’
            appeal

                i. Frivolous appeals do not divest a district court of jurisdiction
      Although “[o]rdinarily, a defendant’s notice of appeal divests the district

court of jurisdiction, which is then transferred to the court of appeals,” there are

“exceptions to this general rule.” United States v. Maduno, 40 F.3d 1212, 1217

(11th Cir. 1994). “One of the exceptions involves the appeal of a frivolous or

dilatory” claim. Id. Allowing defendants to halt litigation with such an appeal

would interfere with “the smooth and efficient functioning of the judicial process,”

id. at 1218, while permitting district courts to maintain jurisdiction in such

situations “minimizes disruption of the ongoing proceedings,” Behrens v. Pelletier,

516 U.S. 299, 311 (1996).

      That “concern about frivolous appeals” applies fully to interlocutory appeals

“from the denial by a district court of entitlement of a government official to

immunity.” Blinco v. Green Tree Servicing, LLC, 366 F.3d 1249, 1251 (11th Cir.

2004). If “the appeal is frivolous,” then “the district court may carry on with the

case.” Id. at 1252. Accordingly, courts have denied stays pending appeal when

the immunity defenses are not “colorable.”       E.g., Rigdon v. Georgia Bd. of

Regents, No. CV406-240, 2008 WL 2986389, at *1 (S.D. Ga. Aug. 4, 2008).

Courts have also denied such stays when an interlocutory appeal seeks to raise

                                         4
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 10 of 32




issues that are “not immediately appealable.” E.g., Epps v. Watson, No. 3:05-CV-

68CDL, 2008 WL 4937031, at *3 (M.D. Ga. Nov. 17, 2008).

      Defendants’ appeal is not colorable under this standard and thus does not

divest this Court of jurisdiction.

                ii. Ex parte Young applies

      Defendants’ contention that the Eleventh Amendment bars Plaintiffs’ claims

is not colorable. Plaintiffs narrowed their claims to seek only prospective relief

(not damages) from state officials acting in their official capacity. In particular,

they seek an injunction barring Defendants from engaging in unconstitutional

actions—conducting elections that will violate Plaintiffs’ rights under the Due

Process and Equal Protection Clauses of the Fourteenth Amendment—and a

declaration that this conduct violates federal law. (Notice ¶ 5(c)-(d); see also

Order at 15; Second Amended Complaint (“SAC”), Dkt. No. 70, ¶¶ 65(a)-(b),

80(a)-(b), 163, 165). The Eleventh Amendment does not shield Defendants here

because the relief Plaintiffs seek is quintessentially available under Ex parte

Young, 209 U.S. 123 (1908). See Summit Med. Assocs., P.C. v. Pryor, 180 F.3d

1326, 1337 (11th Cir. 1999) (explaining that under Ex parte Young, the Eleventh

Amendment “does not generally prohibit suits seeking only prospective injunctive

or declaratory relief”).


                                         5
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 11 of 32




      All of Defendants’ efforts to avoid Ex parte Young lack merit.

      Defendants first contend that Plaintiffs challenge only Defendants’ failure to

act and that such a claim “turns Young inside out.” Dkt. No. 320-1 at 18. They are

wrong about both Plaintiffs’ claim and the law. Plaintiffs challenge application of

a specific regulation that Defendants continue to enforce: SEB Rule 183. (SAC ¶¶

24, 38.) SEB Rule 183-1-12 provides that “all federal, state, and county general

primaries and elections, special primaries and elections, and referendums in the

State of Georgia shall be conducted at the polls through the use of direct recording

electronic (DRE) voting units supplied by the Secretary of State.” SEB Rule 183-

1-12. Plaintiffs contend that enforcement of this regulation in upcoming elections

will result in constitutional injury to them and thus seek an injunction barring it.

(SAC ¶¶ 62, 74-75, 165.) That is not an omissions claim.

      In any event, omissions claims are not barred by Ex parte Young. If a state

officer’s failure to act will result in constitutional harm to plaintiffs, the Eleventh

Amendment does not bar an injunction requiring action. See, e.g., Milliken v.

Bradley, 433 U.S. 267, 269 (1977) (upholding under Ex parte Young a

“desegregation decree” requiring state officials to implement “compensatory or

remedial educational programs”); Dominion Transmission, Inc. v. Summers,

723 F.3d 238, 243 (D.C. Cir. 2013) (holding that a claim “easily satisfie[d]” Ex


                                          6
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 12 of 32




parte Young’s requirements where it “allege[d] that the [state officer’s] failure to

act was ‘contrary to law’”); Lewis v. New Mexico Dep’t of Health, 261 F.3d 970,

976 (10th Cir. 2001) (holding that Ex parte Young applies to claim that officials

were “violating federal law in failing to provide waiver services to eligible

individuals”); Parents for Quality Educ. with Integration, Inc. v. State of Ind.,

977 F.2d 1207, 1210 (7th Cir. 1992), as modified, 986 F.2d 206 (7th Cir. 1993)

(“If, as the plaintiffs allege, the state has not taken affirmative steps to discharge its

duty to dismantle the dual school system that its laws helped to create and

maintain, that failure to act constitutes a continuing violation of the Fourteenth

Amendment.”).

      Defendants also err by arguing that Ex parte Young requires that the

defendant “threaten and be about to commence proceedings adverse to the

particular individual plaintiff.” (Dkt. 320-1 at 19.) The Eleventh Circuit has

rejected that argument. In Summit, the defendants contended that “under Ex parte

Young, a state officer’s enforcement of an allegedly unconstitutional state law must

be imminent, not merely threatened,” but the Eleventh Circuit “decline[d] to adopt

so limited a view.” 180 F.3d at 1338. The court explained instead that “Ex parte

Young recognized the very real reason a plaintiff may need a vehicle to challenge

the constitutionality of a state law before enforcement is imminent,” so “the Ex


                                            7
          Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 13 of 32




parte Young doctrine does not demand that a plaintiff first risk the sanctions of

imminent prosecution or enforcement in order to test the validity of a state law.”

Id.

      Next, Defendants argue that Ex parte Young is inapplicable because

Plaintiffs have not alleged an ongoing and continuing violation. (Dkt. No. 320-1 at

19-20.)     Defendants’ assertion is belied by Plaintiffs’ allegations as well as

Defendants’ own statements. Plaintiffs seek injunctive relief that is designed to

prevent prospective injury—namely injury that results from the Defendants’

ongoing use of DREs in upcoming elections. (SAC ¶ 38 (alleging that “Georgia’s

Voting System relies primarily o[n] the use of DRE voting computers” that

“provide no method through which voters can be assured that their vote has been

accurately recorded”); see also SAC ¶¶ 8, 40, 43-44, 52, 165.) These allegations

must be accepted as true for purposes of deciding the motion to dismiss, but

Defendants have in fact confirmed them.        They have stated repeatedly both

publicly2 and before this Court3 that they intend to use the DREs in the upcoming

election.


2
 “After the success of our pilot project last November using new voting equipment
with a voter-verified paper trail, it is time for the state to move forward with
phasing out our current voting equipment.” Press Release, Secretary of State of
Georgia, Kemp Creates Commission to Review New Voting System, (April 13,
2018), available at
                                         8
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 14 of 32




      Defendants also contend that Plaintiffs’ requested “relief is not purely

prospective” because Plaintiffs allege that “breaches occurred in the past.”

(Dkt. No. 320-1 at 20.) That contention erroneously conflates two issues: the kind

of relief available under Ex parte Young, and the allegations Plaintiffs may put

forward to support entitlement to such relief. As to the former issue, Curling

Plaintiffs’ notice narrowing their complaint could not have been clearer in stating

that they “do not seek retrospective relief.” (Notice ¶ 5.) Curling Plaintiffs seek

only prospective injunctive and declaratory relief, which falls squarely within Ex

parte Young. See Summit, 180 F.3d at 1337. As to the latter issue, Plaintiffs have

alleged that Georgia currently “relies primarily o[n] the use of DRE voting

computers” that have “inherent problems.”      (SAC ¶¶ 38, 40.)     Plaintiffs also

alleged that the DREs currently have “added vulnerabilities” due to past

mismanagement and that past breaches provide evidence of those problems. (SAC

¶¶ 41, 42-52.)

      Those allegations relating to past and current events help establish a

likelihood of ongoing and future harm; their inclusion in the case does not mean

Plaintiffs are seeking retrospective damages. Nor does Plaintiffs’ request for a


http://sos.ga.gov/index.php/general/kemp_creates_commission_to_review_new_vo
ting_system.
3
  Hr. Tr. 61:7-11.
                                        9
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 15 of 32




declaratory judgment transform the claim into one for retrospective relief. See

Verizon Maryland, Inc. v. Pub. Serv. Comm’n of Maryland, 535 U.S. 635, 646

(2002) (holding that a “prayer for declaratory relief” that “does not impose upon

the State a monetary loss” falls within Ex parte Young even if it “seeks a

declaration of the past, as well as the future” (citation omitted)(emphasis in

original)). As Defendants’ own cited case explains, an allegation of “past, present

and future deprivations” is “precisely the type of continuing violation for which a

remedy may permissibly be fashioned under Young,” even if “the current disparity

results directly from the same actions in the past.” Papasan v. Allain, 478 U.S.

265, 281-82 (1986). (Dkt. No. 320-1 at 18, 21 (relying on Papasan).) By contrast,

the claim in Fedorov v. Board of Regents for University of Georgia, on which

Defendants also rely, fell outside the scope of Ex parte Young because the plaintiff

did “not run the risk of Defendants harming him in the future.” 194 F. Supp. 2d

1378, 1387 (S.D. Ga. 2002). That case, involving retrospective relief and no

allegation of an ongoing violation, casts no colorable doubt on Curling Plaintiffs’

claim for prospective relief based on an ongoing violation.

      Finally, Defendants assert that Ex parte Young does not apply because the

suit “implicates special state sovereignty interests.” (Dkt. No. 320-1 at 21). That

objection has no legal basis. Defendants cite no authority for their novel assertion


                                         10
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 16 of 32




that “special state sovereignty interests” make Ex parte Young inapplicable when a

case involves “public officials’ discretionary opinion,” “alleged ‘failures to act,’”

or elections. (Dkt. No. 320-1 at 21.) They cite only Idaho v. Coeur d’Alene Tribe

of Idaho, which held in an “unusual” case that the claim was outside the scope of

Ex parte Young because the suit was “the functional equivalent of a quiet title

action which implicates special sovereignty interests.” 521 U.S. 261, 281 (1997).

A plaintiff “could not maintain” a quiet title action against the state directly

(because the “Eleventh Amendment would bar it”), so the plaintiff could not

circumvent that restriction by maintaining the functional equivalent using Ex parte

Young. Id. at 281-82. That holding has no bearing on this case, which involves

neither an attempt to acquire state lands nor the functional equivalent of a lawsuit

barred by the Eleventh Amendment.4

      Contrary to Defendants’ suggestion, “not every offense to the dignity of a

State constitutes a denial of sovereign immunity.” Virginia Office for Prot. &

Advocacy v. Stewart, 563 U.S. 247, 258 (2011). After all, every official-capacity

suit against a state officer under Ex parte Young implicates state sovereignty.

Rather, the “specific indignity against which sovereign immunity protects” (thus
4
  The portion of Idaho that Defendants cite (at 21) is a non-precedential opinion
for two Justices only. See 521 U.S. at 277 (opinion of Kennedy, J., joined by
Rehnquist, C.J.). And even that opinion contains no assertion that Ex parte Young
should be inapplicable in circumstances like those here.
                                         11
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 17 of 32




making Ex parte Young unavailable) occurs “when (for example) the object of the

suit against a state officer is to reach funds in the state treasury or acquire state

lands.” Id. The object of Curling Plaintiffs’ suit is entirely different. Curling

Plaintiffs expressly “do not seek retrospective relief” and seek only to bar the

enforcement of state laws in violation of the Constitution. (SAC 52; Notice ¶ 5.)

Defendants’ vague assertion of special sovereignty interests is a frivolous attempt

to evade that quintessential application of Ex parte Young.

               iii. Defendants’ legislative immunity defense is baseless

      Defendants’ appeal of the denial of their motion to dismiss on legislative

immunity grounds is also not colorable and thus provides no basis for a stay.

Under the doctrine of legislative immunity, “state legislators enjoy common law

immunity from liability for their legislative acts.” Scott v. Taylor, 405 F.3d 1251,

1254 (11th Cir. 2005) (quoting Supreme Court of Virginia v. Consumers Union,

446 U.S. 719, 731 (1980)). In other words, the immunity applies only when a

plaintiff sues “state legislators who acted in their legislative capacities.” Id. at

1257. “[M]ere administrative application of existing policies” is not a “legislative”

act. Crymes v. DeKalb Cty., Ga., 923 F.2d 1482, 1485 (11th Cir. 1991); see also,

e.g., Alexander v. Holden, 66 F.3d 62, 65 (4th Cir. 1995) (“Executive and

administrative actions are not protected.”); Trevino By and Through Cruz v. Gates,


                                         12
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 18 of 32




23 F.3d 1480, 1482 (9th Cir. 1994) (same); Rateree v. Rockett, 852 F.2d 946, 950

(7th Cir. 1988) (same).

      Legislative immunity is inapplicable here because Curling Plaintiffs have

sued no legislators and challenge no legislative acts.        State Defendants are

executive officials who, by their own description, are merely “acting pursuant to

their respective duties within th[e] legislative framework.” (Dkt. No. 265 at 20.)

More fundamentally, Curling Plaintiffs do not challenge the enactment of any law.

Rather, Curling Plaintiffs allege that Defendants’ administration and enforcement

of existing state law violates the Constitution. See SEB Rule 183-1-12. (SAC ¶¶

24, 38, 62, 74-75, 165.)

      It is unclear, in fact, which of Curling Plaintiffs’ claims—if any—

Defendants believe are barred by legislative immunity. Defendants’ motion says

only that claims are barred “[t]o the extent Plaintiffs’ suit is premised on the SEB’s

promulgation of rules and regulations.” (Dkt. No. 320-1 at 22.) But no part of

Curling Plaintiffs’ suit is premised on any rulemaking; all claims are premised on

only Defendants’ enforcement of existing rules.

      Defendants assert broadly that Plaintiffs seek to “direct[] the State how to

count ballots.” (Dkt. No. 320-1 at 22.) Plaintiffs do not, however, seek to enjoin

the state legislature to enact any law. Moreover, Defendants’ assertion addresses


                                         13
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 19 of 32




only the requested remedy, not the acts challenged. Regardless of how Defendants

attempt to characterize the remedy, the alleged violation consists of administrative

enforcement acts, not legislative acts.

      Defendants also argue that Plaintiffs urge the Court to “pass[] judgment on”

the “statutory regime” enacted by the Georgia Legislature. (Dkt. No. 320-1 at 23.)

That, of course, is the very purpose of an Ex parte Young claim alleging that

enforcement of state law violates the federal Constitution. Such a claim does not

implicate legislative immunity, because the claim is not that legislators violated the

Constitution by enacting the statutory regime. Rather, Curling Plaintiffs have sued

only those who enforce that regime. Moreover, Curling Plaintiffs’ requested relief

is in fact consistent with the Georgia Legislature’s judgment that elections should

be conducted by paper ballot if using DREs is “impracticable.” O.C.G.A. §§ 21-2-

281, -334.

      If there were any doubt that Curling Plaintiffs’ claims are exactly the kind of

claims that raise no legislative immunity issues, Defendants’ own cited authority

puts it to rest. In Scott, the court addressed a claim against state legislators for

enacting an allegedly unlawful redistricting map. 405 F.3d at 1253. (Dkt. No.

320-1 at 22 (relying on Scott).) The court held that this challenge to the enactment

of legislation was barred by legislative immunity, but it also explained that the


                                          14
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 20 of 32




plaintiff was “free to maintain her suit against the Board of Elections.” Id. at 1256.

Against the Board, the court explained, the plaintiff could request “prospective

relief seeking to enjoin the enforcement of the challenged voting district and a

declaration as to its legality.” Id. That is exactly the sort of relief that Curling

Plaintiffs request here.

                iv. Standing is not immediately appealable, and Curling
                    Plaintiffs have standing in any event

      State Defendants’ purported interlocutory appeal of the Court’s denial of

their motion to dismiss on standing grounds is not colorable for two independent

reasons. First, there is no appellate jurisdiction over that portion of the appeal.

Second, the Court’s ruling was clearly correct in any event.

      Generally, the courts of appeals have jurisdiction over only “final

decisions.” 28 U.S.C. § 1291. Under the “collateral order doctrine,” however,

certain interlocutory decisions—including the “denial of a motion to dismiss on

Eleventh Amendment immunity grounds”—is appealable immediately. Summit,

180 F.3d at 1334. But the collateral order doctrine does not extend to appeal of “a

district court’s denial of a motion to dismiss on justiciability grounds”—including

an Article III “standing determination.” Id.

      Defendants concede (Dkt. 320-1 at 4) that this Court’s standing ruling is not

independently appealable under either 28 U.S.C. § 1291 or the collateral order

                                         15
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 21 of 32




doctrine. They nonetheless contend that the court of appeals can review it now by

exercising pendent appellate jurisdiction given that court’s jurisdiction over the

interlocutory immunity appeal.          Under the doctrine of pendent appellate

jurisdiction, an appellate court “may address nonappealable orders if they are

‘inextricably intertwined’ with an appealable decision or if ‘review of the former

decision [is] necessary to ensure meaningful review of the latter.’” Summit, 180

F.3d at 1335 (quoting Swint v. Chambers County Comm’n, 514 U.S. 35, 51

(1995)). “[T]he critical inquiry is whether the appealable issue can be resolved

without reaching the merits of the nonappealable issues.” In re MDL-1824 Tri-

State Water Rights Litig., 644 F.3d 1160, 1179 (11th Cir. 2011). The court of

appeals   “can    exercise    pendent    appellate   jurisdiction   only   under   rare

circumstances.”       Black v. Wigington, 811 F.3d 1259, 1270 (11th Cir. 2016)

(citation omitted).

      This is not one of those “rare circumstances” where pendent appellate

jurisdiction is present. Id. To the contrary, the Eleventh Circuit has squarely held

that it lacks pendent appellate jurisdiction over standing arguments in situations

exactly like those present here. In Summit, the Court held there was no pendent

appellate jurisdiction over a district court’s decision not to dismiss for lack of

standing even though there was interlocutory jurisdiction over non-dismissal on


                                           16
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 22 of 32




Eleventh Amendment immunity grounds. 180 F.3d at 1335. “These issues are

neither ‘inextricably intertwined’ nor ‘necessary to ensure meaningful review’ of

one another.” Id. And in Scott the Court held that “an interlocutory appeal of the

district court’s denial of legislative immunity” does “not support pendant appellate

jurisdiction on a standing issue.” 405 F.3d at 1257 n.8; see also, e.g., Moniz v. City

of Fort Lauderdale, 145 F.3d 1278, 1282 n.3 (11th Cir. 1998) (holding that the

Court “may resolve the qualified immunity issue in this case without reaching the

merits of appellants’ challenge to [plaintiff’s] standing,” so the standing issue

“does not fall within our pendent appellate jurisdiction”). Although Defendants

cite both Summit and Scott in their stay motion for other propositions, they make

no attempt to reconcile those decisions with their pendent appellate jurisdiction

arguments.

      Even aside from their inconsistency with Eleventh Circuit precedent,

Defendants’ invocation of pendent jurisdiction fails. Defendants assert (Dkt. 320-1

at 13-16) that the standing issues are inextricably intertwined with and necessary to

ensure meaningful review of the appealable issues. Defendants, however, do not

even mention a link between standing and legislative immunity, much less

establish it. Defendants instead assert (Dkt. 320-1 at 13-14) a link between Article

III’s injury-in-fact requirement and Ex parte Young’s requirement of a continuous,


                                         17
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 23 of 32




ongoing violation of federal law. But Ex parte Young requires just that plaintiffs

allege a “violation of federal law,” Summit, 180 F.3d at 1338—not that the

violation cause plaintiffs injury in fact (the focus of the entirely separate standing

inquiry). Applicability of Ex parte Young can thus “be resolved without reaching”

standing. In re MDL-1824, 644 F.3d at 1179.

      Defendants also assert (Dkt. 320-1 at 14-16) a link between Article III’s

redressability requirement and Ex parte Young’s requirement that the state officer

have minimal enforcement responsibility for the challenged law. But again it is

possible to decide the applicability of Ex parte Young without reaching

redressability. The likelihood that a favorable decision would redress an injury is

not a required element under Ex parte Young. Instead, a plaintiff must show only

that “the state officer has some responsibility to enforce the statute or provision at

issue.” Summit, 180 F.3d at 1341.

      In any event, Defendants’ standing argument would not be colorable even if

the court of appeals had jurisdiction to address it. Defendants wrongly contend

that Plaintiffs have alleged only “possible future injury.” (Dkt. No. 320-1 at 10.)

But Plaintiffs have alleged that the DRE system was actually accessed multiple

times already. (SAC ¶¶ 42-48.) Plaintiffs have also alleged that Defendants have

failed to secure the DRE system from future attacks. (SAC ¶¶ 40, 46, 61, 63.)


                                         18
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 24 of 32




Plaintiffs thus have sufficiently alleged that “[t]he DRE system did not, and cannot

ever” secure their constitutional right to have their votes counted without dilution.

(SAC ¶ 52).

      Indeed, this Court detailed the evidence introduced in the preliminary

injunction proceeding showing that “the DRE voting system was actually accessed

or hacked multiple times already,” and that Defendants have failed to take “steps to

secure the DRE system from such attacks” in the future. (Order 17-21.)

Confirming that the harm is real and ongoing, Defendants have admitted that they

are implementing DREs for upcoming elections under unsafe conditions, including

by leaving the election system open to external access through a modem and

removable media. (Dkt. No. 265 at 2; Hr. Tr. 226:22-228:25, 266:1-11.) And

these defects in the present system inflict ongoing injury to voters who cannot be

confident in the integrity of elections—as Defendants’ own cybersecurity specialist

has explained. (Presentation by Prof. Wenke Lee, Dkt. No. 313, Ex. 5 at 12, 15

(explaining that “[v]oter confidence” requires certain critical characteristics that

DREs lack and only “[p]aper ballots done right” have); see also Order 45

(recognizing the “wound to the integrity” of Georgia’s election system and to

“citizens’ confidence”).) As the Court recognized, this is sufficient to allege a




                                          19
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 25 of 32




deprivation of “an election process that accurately and reliably records [Plaintiffs’]

votes and protects the[ir] privacy.” (Order 18.)

      Defendants (Dkt. 320-1 at 12) erroneously reduce Plaintiffs’ claims to a

“generalized grievance,” but Plaintiffs have alleged specific harm to themselves.

For example, Plaintiff Curling alleged that, due to her concerns about the

unreliability of the DRE system, she “persisted through considerable

inconvenience” in her attempt to cast a ballot using an absentee paper ballot—only

to be told by Defendants that her ballot was not counted. (SAC ¶ 14; see also

Order 18.)

      Forcing voters into the Hobson’s choice between voting absentee and voting

on the unsecure DREs is sufficient to show injury-in-fact. See Common Cause/Ga.

v. Billups, 554 F.3d 1340, 1351-52 (11th Cir. 2009) (“Requiring a registered voter

either to produce photo identification to vote in person or to cast an absentee or

provisional ballot is an injury sufficient for standing.”); One Wis. Inst., Inc. v.

Thomsen, 198 F. Supp. 3d 896, 909 (W.D. Wis. 2016) (having to present photo ID

to vote in-person sufficient injury for standing). Defendants (Dkt. 320-1 at 10-11)

invoke Clapper v. Amnesty Int’l USA, but that case involved a theory of injury

based on “speculation” about possible future harm and “self-inflicted” costs

incurred to avoid a “fear” of possible surveillance. 568 U.S. 398, 410-14, 417-18


                                           20
        Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 26 of 32




(2013). Here, by contrast, Plaintiffs have alleged actual present deficiencies in

Georgia’s voting system. And depriving Plaintiffs of the ability to vote in person

with a secure ballot system is an actual deprivation inflicted by Defendants upon

Plaintiffs, not a “self-inflicted” cost.

       The Court’s analysis of causation and redressability are equally unassailable,

and Defendants do not challenge those conclusions in contending that their

standing appeal is not frivolous. (Dkt. No. 320-1 at 9-12.)

                                      *    *     *

       Because Defendants’ appeal presents no colorable issues, it does not divest

this Court of jurisdiction.5

       B.     The equities strongly disfavor a stay

       Because the appeal does not divest this Court of jurisdiction, a stay would be

warranted only if the traditional factors for equitable relief were satisfied: “(i) the

likelihood the moving party will prevail on the merits; (ii) the prospect of

irreparable injury to the moving party if relief is withheld; (iii) the possibility of


5
  Even if Defendants had raised a non-frivolous appellate issue regarding some
aspect of Curling Plaintiffs’ claims, that would not require a stay of all
proceedings. The stay would extend only to the claim or aspect of the claim at
issue. See Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982) (an
appeal “divests the district court of its control over those aspects of the case
involved in the appeal” (emphasis added)). The rest of the litigation—on claims
severable from those colorably appealed—should proceed.
                                           21
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 27 of 32




harm to other parties if relief is granted; and (iv) the public interest.” Freeman v.

Cavazos, 923 F.2d 1434, 1437 (11th Cir. 1991). State Defendants are unlikely to

succeed on the merits of their appeal for the reasons already discussed. The

remaining three factors likewise disfavor a stay pending appeal.

                i.   State Defendants will not suffer irreparable injury absent a
                     stay
      State Defendants argue that withholding a stay will result in the “expenditure

of judicial resources and the parties’ resources to move this case through

discovery.” (Dkt. No. 320-1 at 24.) That does not, however, represent irreparable

injury warranting a stay. “Mere injuries, however substantial, in terms of money,

time and energy necessarily expended in the absence of a stay, are not enough to

constitute irreparable injury.” Snook v. Tr. Co. of Georgia Bank of Savannah, 909

F.2d 480, 487 (11th Cir. 1990) (quoting Sampson v. Murray, 415 U.S. 61, 90

(1974)) (alterations omitted).

      Defendants also assert that without a stay, they will be “distracted from, or

interfered with” in their purported effort to “procure and implement a new

elections system for the November 2020 elections.”         (Dkt. No. 320-1 at 25.)

Defendants fail to explain how that effort is incompatible with continuing to

participate in this litigation—which, after all, seeks that very relief. Moreover,

even with a stay, Defendants’ own interlocutory appeal will still require them to

                                         22
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 28 of 32




continue participating in litigation.   Having embraced that optional additional

litigation, Defendants are in no position to claim that further litigation will cause

them irreparable harm.

               ii.   The balance of the equities as well as the public interest
                     strongly disfavor any further delays
      Any injury State Defendants might suffer absent a stay is dwarfed by the

harm to Plaintiffs and the public interest that would be caused by further delay.

This Court has already explained the need to proceed quickly in this case and

repeatedly noted the public interest at stake.     Already, time constraints have

frustrated the Court’s ability to provide a remedy for the 2018 elections despite

“the serious security flaws and vulnerabilities in the State’s DRE system.” (Order

34, 41-44.) Additional delay will cause great harm to Curling Plaintiffs, who

“have shown that their Fourteenth Amendment rights to Due Process and Equal

Protection have been burdened” yet have been unable to obtain effective relief.

(Order 33.) The public interest will suffer as well, as delay will perpetuate the

“wound to the integrity” of Georgia’s election system that “pierces citizens’

confidence in the electoral system and the value of voting.” (Order 45.) That harm

to Plaintiffs and the public is irreparable—a tainted election cannot be undone or

redone. (Hr. Tr. 304:22-305:12 (former Secretary of State explaining that there is



                                         23
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 29 of 32




“no process for redoing an election,” so to fix a vulnerability the State must “find a

better way to do this before the next major election”)).

      Further tilting the balance of the equities away from State Defendants, this

Court has already warned that “any timing issues [after November 2018] would

appear to be exclusively of Defendants’ own making.”           (Order 44.)    Indeed,

Defendants’ conduct to date has already resulted in the current crisis, as this Court

has noted “grave[] concern about the State’s pace in responding to the serious

vulnerabilities of its voting system.” (Order 43-44.) The Court should not indulge

Defendants’ attempt to slow the pace further.

IV.   CONCLUSION
      Defendants provide no basis on which this Court should stay the proceedings

before it. With elections fast approaching both this year and next, there is little

time for further delay in fixing a voting system that the Court has recognized is

inherently unsecure. This Court should reject Defendants’ attempt to further delay

these proceedings and deny Defendants’ motion to stay.



Dated: September 26, 2018                 Respectfully submitted,

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                                         24
Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 30 of 32




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                              25
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 31 of 32




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                             Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of LR 5.1, using font type

of Times New Roman and a point size of 14.

                                              /s/ David D. Cross
                                             David D. Cross




                                      26
       Case 1:17-cv-02989-AT Document 323 Filed 09/26/18 Page 32 of 32




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.

                          CERTIFICATE OF SERVICE

      I hereby certify that on September 26, 2018, a copy of the foregoing

CURLING PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO STATE

DEFENDANTS’ MOTION TO STAY was electronically filed with the Clerk of

Court using the CM/ECF system, which will automatically send notification of

such filing to all attorneys of record.

                                                /s/ David D. Cross
                                               David D. Cross




                                          27
